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 8
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 9   UNITED STATES OF AMERICA
10
                           UNITED STATES DISTRICT COURT
11
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,             ) CR No. 08-00295-GHK
14                                         )
                       Plaintiff,          ) [PROPOSED] FINDINGS AND
15                                         ) ORDER
                      v.                   )
16                                         )
     FRANCISCO ANDRES-FRANCISCO            )
17       aka “Chico,”                      )
     FRANCISCO ANDRES-PEDRO,               )
18      aka “Samuel Lopez,”                )
     FRANCISCO PEDRO-FRANCISCO,            )
19   ELVIRA BARTOLO-SEBASTIAN,             )
     JUANA DOMINGO JUAN,                   )
20      aka “Margarita Elizabeth           )
        Francisco,”                        )
21   ANGEL GONZALEZ-PELICO,                )
        aka “Juan Ramos Gonzalez,”         )
22   GILBERTO FRANCISCO-LORENZO,           )
        aka “Zorro,”                       )
23      aka “Juan Francisco                )
        Delgado,”                          )
24   JUAN JIMENEZ-PASCUAL,                 )
     ISAIAS VASQUEZ-MENDOZA,               )
25      aka “Escorpin,”                    )
     HENRY RODRIGUEZ-SANCHEZ,              )
26   ANIBAL FRANCISCO, and                 )
     LUIS LOPEZ-MONCHO,                    )
27      aka “Luis Castaneda,”              )
        aka “Daniel Juan-Pascual,”         )
28                                         )
                       Defendants.         )
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 1                        [PROPOSED] FINDINGS AND ORDER
 2
 3        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
 4   COURT adopts the findings of fact and the conclusions of law
 5   stipulated to by the parties.
 6        This matter is continued to 3:30 p.m. on December 22, 2008,
 7   for a status conference.
 8        The Court deems the time period of December 1, 2008, to
 9   December 22, 2008, is excludable pursuant to 18 U.S.C.
10   §§ 3161(h)(8)(A), (B)(iv).
11
12
13
14   Dated:    12/15/08
15                                      THE HONORABLE GEORGE H. KING
16                                      UNITED STATES DISTRICT JUDGE
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